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               UNITED STATES DISTRICT COURT
               WESTERN DISTRICT OF MICHIGAN


EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION,
                                        Case No. 1:18-cv-00668
                 Plaintiff,             Hon. Hala Jarbou


v.

GEORGINA’S LLC, and
ANTHONY’S LITTLE G’S, LLC.

                 Defendants.
                                    /
KENNETH L. BIRD                         Matthew Vermetten (P643425)
OMAR WEAVER (P58861)                    Attorney for Georgina’s
MILES UHLAR (P65008)                    600 E. Front Street, Ste. 102
Attorney for Plaintiff                  Traverse City, Michigan 49686
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John Di Giacomo (P73056)
Attorney for Little G’s
Revision Legal
444 Cass St., Suite D
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                                    /

   PROPOSED CONSENT JUDGEMENT AND PERMANENT
 INJUNCTION AGAINST GEORGINA’S LLC AND ANTHONY’S
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                             LITTLE G’S, LLC

                           Money Judgement

     Judgement is entered jointly and severally against Defendant

Georgina’s LLC and its successor entity, Defendant Anthony’s Little

G’s, LLC (dba “Bushi”, “Underground Sushi”, “The Underground Sushi

Factory” and/ or “Little G’s”) in favor of the Equal Employment

Opportunity Commission in the total amount of Two Hundred

Thousand Dollars ($200,000.00) for the intentional, malicious and

unlawful employment practices specified in Plaintiff’s Amended

Complaint (ECF No. 64), which violated Section 703(a)(1) and Section

704 of Title VII, 42 U.S.C. §§2000e-2(a)(1); 2000e-3(a). This judgement

is broken down as follows:

     a) Defendants Georgina’s LLC and Anthony’s Little G’s, LLC are

        jointly and severally liable to Plaintiff in the amount of Three

        Thousand Five Hundred Dollars ($3,500.00) in backpay for the

        intentional, willful, malicious and retaliatory termination of

        Jessica Werthen.

     b) Defendants Georgina’s LLC and Anthony’s Little G’s, LLC are

        jointly and severally liable to Plaintiff in the amount of Ninety-




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        Six Thousand Five Hundred Dollars ($96,500.00) in non-

        pecuniary compensatory damages for the intentional, willful

        and malicious sexual harassment of Jessica Werthen and

        similarly situated female employees.

     c) Defendants Georgina’s LLC and Anthony’s Little G’s, LLC, are

        jointly and severally liable to Plaintiff in the amount of One

        Hundred Thousand Dollars ($100,000.00) in punitive damages

        for the intentional, willful and malicious sexual harassment of

        Jessica Werthen and similarly situated female employees.

     Interest shall accrue on this judgement from the date of entry at

the statutory rate. This judgement is a debt owed to the United States

for an intentional tort.

                   Permanent Injunction and Order

     Defendants Georgina’s LLC and Anthony’s Little G’s, LLC, and

their officers, successors, assigns, and all persons in active concert or

participation with them are permanently enjoined from maintaining a

sexually hostile work environment and/or retaliating against employees

based on their opposition to any employment practice made unlawful

under Title VII.




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     Defendant Anthony’s Little G’s, LLC is ordered to provide a

minimum of two hours of interactive training to its owner and all of

their employees within sixty days of the date of entry of this judgement.

The training will, at a minimum, cover Title VII’s prohibition of sexual

harassment and retaliation. No later than fourteen days before the

training, the Defendants shall provide the EEOC with the training

materials to be used along with an outline of the training. The EEOC

may provide reasonable input into the training. Defendants shall record

the audio and video of the training and will provide a copy of the video-

and audio-recording to the EEOC no later than five business days after

the training. The training must show that Anthony’s Little G’s owner

attended and participated in the training.

     Nothing herein shall be binding on any persons other than the

specific parties to this judgment. Nothing herein shall preclude Plaintiff

from seeking any and all post-judgement remedies authorized by the

facts and law.

      SO ORDERED.



                                   /s/ Hala Y. Jarbou
                                   ________________________________
                                   HALA Y. JARBOU
       February 2, 2021
Dated: _________________           UNITED STATES DISTRICT JUDGE


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Agreed as to form and content:

EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION

/s/_Miles L. Uhlar___________________
MILES L. UHLAR (P65008)
DETROIT FIELD OFFICE
Patrick V. McNamara Federal Building
477 Michigan Ave, Room 865
Detroit, Michigan 48226
(313) 226-4620
miles.uhlar@eeoc.gov
Date: February 1, 2021


GEORGINA’S, LLC.

/s/Anthony Craig__                 /s/ Matthew Vermetten__________
By: Anthony Craig                  Matthew Vermetten (P643425)
Its: Member/Manager                600 E. Front Street, Ste. 102
Dated: January 29, 2021            Traverse City, MI 49686
                                   (231) 929-3540
                                   mvermetten@mich-legal.com
                                   Attorney for Defendant Georgina’s
                                   Date: January 29, 2021

ANTHONY’S LITTLE G’S, LLC

/s/Anthony Craig__                 /s/_John Di Giacomo_____________
By: Anthony Craig                  John Di Giacomo
Its: Member/Manager                Attorney for Defendant Little G’s
Dated: January 29, 2021            Revision Legal
                                   444 Cass St., Suite D
                                   Traverse City, MI 49684
                                   (231) 714-0100
                                   john@revisionlegal.com
                                   Date: January 29, 2021


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